                                         Case 4:13-md-02420-YGR Document 675 Filed 03/10/15 Page 1 of 1




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

                                   6   IN RE:

                                   7    LITHIUM ION BATTERIES ANTITRUST                      Case No. 13-md-02420-YGR (DMR)

                                   8    LITIGATION
                                                                                             ORDER TAKING FEBRUARY 13, 2015
                                   9                                                         JOINT DISCOVERY LETTER
                                                                                             [DOCKET NO. 650] UNDER
                                  10                                                         SUBMISSION WITHOUT ORAL
                                                                                             ARGUMENT
                                  11

                                  12
Northern District of California
 United States District Court




                                  13
                                       TO ALL PARTIES AND COUNSEL OF RECORD:
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                                                The court has received the parties’ February 13, 2015 joint discovery letter (Docket No.
                                  15
                                       650), and finds that the matter is appropriate for resolution without oral argument pursuant to Civil
                                  16
                                       Local Rule 7-1(b). Accordingly, the March 12, 2015 hearing on the motion is hereby VACATED.
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                                       The court will issue a written order on the motion.
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                                                IT IS SO ORDERED.                                      TA
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                                       Dated: March 10, 2015
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                                                                                                           ORDER
                                                                                             UNIT




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                                  22                                                    DONNA M. RYU
                                                                                        United States Magistrate Judge           u
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